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     8
     9                               UNITED STATES DISTRICT COURT

   10                              CENTRAL DISTRICT OF CALIFORNIA

   11
   12 IN RE: FORD MOTOR CO. DPS6                       Case No. 2:18-ML-02814-AB (PVCx)
      POWERSHIFT TRANSMISSION
   13 PRODUCTS LIABILITY                               Assigned to: Judge Andre Birotte, Jr.
      LITIGATION                                       Courtroom 7B
   14
                                                       PLAINTIFFS’ STATUS REPORT
   15
   16 THIS DOCUMENT RELATES TO:                        Date: July 28, 2021
                                                       Time: 10:00 a.m.
   17       ALL CASES                                  Crtrm: 7B
   18
   19
   20                 Plaintiffs hereby submit the Status Report pursuant to the Court’s Minute Order
   21 (See Dkt. No. 1144).
   22                 During the status conference on June 25, 2021, this Court requested that Lead
   23 Counsel generally specify the common discovery and case specific discovery that all
   24 plaintiffs seek, as well as how each firm will recover fees. This Court did not order
   25 any further meet and confer efforts as to these issues, but rather for Lead Counsel to
   26 generally address the remaining discovery to be conducted.
   27 / / /
   28 / / /
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     1 I.             PLAINTIFF’S FIRMS WITH ACTIVE CASES
     2                In June 2021, Ford’s Master Case List revealed 24 Plaintiff’s firms with active
     3 cases in this MDL. Upon preparing this status report, Lead Counsel has learned that
     4 at least seven (7) firms are either actively engaged in settlement discussions or have
     5 recently dismissed their cases. Thus, for purposes of this filing, Lead Counsel has
     6 endeavored to confer with the 17 remaining firms as to the nature and scope of
     7 discovery that they seek to conduct, although not all firms have been responsive to
     8 Lead Counsel’s efforts. However, this Status Report does provide a comprehensive
     9 understanding as to what all firms, including future firms added to the MDL, will need
   10 to accomplish.
   11
   12 II.             CASE SPECIFIC DISCOVERY
   13                 The most pressing need in this MDL is for each remaining plaintiff firm to have
   14 the access and ability to perform case specific work so that their cases have a
   15 meaningful opportunity of resolving. As discussed in the last Joint Report (Dkt. No.
   16 1138), with each passing day, the stayed plaintiffs lose their ability to access key
   17 evidence to support their claims since dealerships are only required to maintain certain
   18 documents for a maximum of three years, including, but not limited to, work orders,
   19 records supplementing work orders, invoices, and estimates. The significance of this
   20 cannot be understated; Ford is incurring a substantial windfall as these cases continue
   21 to be on a discovery stay – which has now been in place for more than three years.
   22                 In short, the case specific discovery that each firms seeks includes obtaining
   23 necessary documents to learn about the nature and scope of their own clients’ repairs,
   24 obtaining policy and database documents, having their plaintiffs deposed, and having
   25 vehicles inspected by experts from both sides. The following case-specific discovery
   26 that generally needs to be done includes the following:
   27                     Document and deposition subpoenas of the selling and repairing
   28                      dealerships and their service advisors, technicians or managers
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     1                    regarding the sales of the vehicles and the repairs/notes on each
                          plaintiff’s defective vehicles.
     2
     3                   Document and deposition subpoenas of certain dealership’s policies
                          and actual practices for creating repair orders and performing repairs
     4                    for DPS6 issues.
     5
                       Documents relating to each plaintiff’s vehicle regarding:
     6                       (1) the VIN FSA Details;
     7                       (2) the warranty claim history from Ford’s Global System for
                             Analysis and Reporting (“GSAR”);
     8                       (3) the OASIS information for the specific vehicle;
     9                       (4) the factory invoice and Vehicle Information Report;
                             (5) the AWS Claims List Report;
   10                        (6) communications set forth in Ford’s Global Common Quality
   11                        Indicator System (“GCQIS”);
                             (7) all communications received through Ford’s Global Contact
   12                        Center Technology (“GCCT”) application;
   13                        (8) the GUDB Repair Orders Details by VIN;

   14                  From the repairing/selling dealerships, for each vehicle/client:
   15                           (1) All versions of repair orders, including hard copies with
   16                               mechanics notes;
                                (2) All work orders;
   17                           (3) Printouts of all screens in their CSM/CRM software relating
   18                               to the Plaintiffs/vehicles;
                                (4) Any other file that is known to become relevant as it relates
   19                               to Plaintiff’s individual vehicle or its repairs;
   20
   21                  Ford’s person(s) most qualified on areas such as buyback policy
                        categories, technical categories, and any other individuals who may
   22                   have information regarding Plaintiff’s claims.
   23
                       Written discovery to Ford regarding the repair invoices, recalls and
   24                   service bulletins, or Ford’s denial of a repurchase or replacement of
   25                   Plaintiff’s vehicle.

   26                  Discovery warranty spending on a subject vehicle and warranty
                        spending on the same or similar issues in like vehicles.
   27
   28                  Information relating to any of Ford’s affirmative defenses.
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     1                    Discovery on any other specific facts necessary to prove the plaintiff’s
     2                     claims under their respective state law (e.g., in the case of Mark Hemza
                           v. Ford Motor Company, Mr. Hemza’s claims are based, in part, on
     3                     Hawaii Revised Statutes (HRS) 480-2 for Ford’s failure to timely pay
     4                     an underlying lemon law judgment against them.)

     5                The above enumerated discovery is typical and necessary for both sides, and
     6 has been done in each case so far. It is especially important where Ford will not admit
     7 liability under the Song Beverly Act or corresponding violations under other State
     8 codes.
     9                If the Court will not open case specific discovery for all firms, then at the very
   10 least, 20 new cases need to be released into the Initial Disposition Pool per Scheduling
   11 Order No. 1 which mandates a replacement case to be promptly identified when any
   12 IDP case is “dismissed, remanded, transferred from this Court, or otherwise resolved
   13 or dismissed.” (Dkt. No. 136) Although Lead Counsel recognizes that the
   14 unprecedented shutdown in 2020 delayed the identification and selection of
   15 replacement cases, there is no reason to continue delaying this effort now and
   16 Plaintiffs are within their right to replace the IDP with 20 new cases.
   17
   18 III.            COMMON DISCOVERY
   19                 Since the Parties are within their right to add 20 new cases to the IDP per
   20 Scheduling Order No. 1, Plaintiffs are within their right to have common discovery re
   21 opened.
   22             MR. KIESEL: Is it the Court's view -- so I'm clear here -- that once we hit
                  June 1st [2019], that in terms of the MDL, absent extraordinary
   23             circumstances, all of the common discovery in the MDL…is over, that's my
   24             date, and we're done?

   25             THE COURT: No.
   26 (March 6, 2019 Hrg. Trns., p. 87: 6-15; p. 88: lns. 19-25.)
   27                 The common discovery that Plaintiffs have the right to perform includes
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     1 completing discovery that Ford objected to, and which Plaintiffs did not have
     2 sufficient opportunity to compel prior to the discovery cut off in 2019, given the
     3 lengthy meet and confer and motion deadlines imposed by the Central District Local
     4 Rule 37 et seq. This includes the following:
     5          Documents, data, and communications held by Ford’s Automotive Safety
     6                Office regarding accidents and injuries caused by DPS6-equipped vehicles.
     7                These documents are relevant to the safety of the vehicles, which Ford insists
     8                are perfectly safe while refusing to produce documents in support of that
     9                defense. Establishing safety is relevant to Plaintiffs’ Song-Beverly claims, and
   10                 may also be relevant to the plaintiffs’ fraudulent inducement claims insofar as
   11                 the risk of safety could, based on this Court’s prior rulings, give rise to a duty
   12                 to disclose and the risk of dangerous conditions could likewise provide for an
   13                 exception to the Economic Loss Rule. See Dkt. No. 605 (granting Ford’s
   14                 summary judgment motion on fraud: “The Court has reviewed the evidence
   15                 and finds that Plaintiff has not shown that there is a triable issue as to whether
   16                 the leaking seals and the resulting wet clutch shudder posed a safety hazard,
   17                 and as a result, Plaintiff has not shown a triable issue as to Ford’s duty to
   18                 disclose.”) Per the Federal Rules, discovery is broad, and there is nothing
   19                 under the law that would prevent Plaintiffs from rightfully obtaining this
   20                 discovery. If Ford wants to file a protective order after Plaintiffs propound this
   21                 discovery, it may do so. Either way, Plaintiffs have the absolute right to
   22                 perform discovery on these issues.
   23           All design changes to the DPS6 transmissions after a certain model year. This
   24                 bears on Ford’s knowledge as well as the reasonableness of its attempted repair
   25                 procedures. For example, if Ford knew by 2016 that the DPS6 transmissions
   26                 were inherently defective and could not be repaired (or susceptible to failure
   27                 and couldn’t be fixed), and didn’t change the design, then: (1) 1-2 repair
   28                 attempts would be a reasonable number of attempts since any more would be
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     1                futile; and/or (2) knowing that the transmissions were defective and hadn’t
     2                been redesigned goes to a determination of Ford’s bad faith in denying
     3                repurchase requests which shows that it willfully violated Song Beverly.
     4          All documents which evidence, describe, refer, or relate to any investigations
     5                or inquiries by any governmental agencies or entities (e.g. NHTSA, the ACCC,
     6                Transport Canada, etc.) concerning the DPS6 Transmission, which Ford never
     7                substantively responded to but instead provided links to nhtsa.gov.
     8          Interrogatories concerning the number of DPS6 related accidents or alleged
     9                injury incidents to have occurred in certain Focus and Fiesta vehicles, and the
   10                 alleged details of those accidents as known to Ford, which Ford has refused to
   11                 produce. (Ford never substantively responded to these interrogatories but
   12                 rather claimed they were all privileged because they were contained in files
   13                 maintained by Ford’s Office of General Counsel. Ford merely referred
   14                 Plaintiffs to ambiguous documents, which then ultimately stymied Plaintiffs
   15                 from using any such evidence during trial on the grounds that plaintiffs could
   16                 not show substantial similarity among claimed accidents.) Lead Counsel refers
   17                 to this Court to the first bullet point for justification of this discovery.
   18           Interrogatories concerning the amount of warranty spend in the USA by Ford
   19                 in certain years relating to certain defective transmission parts, which Ford has
   20                 evaded answering by instead asserting that Ford does not keep track of
   21                 spending in way characterized by Plaintiffs. Plaintiffs intend to serve
   22                 discovery that is “characterized” in the manner by which Ford does monitor
   23                 the defective part spending. These responses should not be burdensome to Ford
   24                 since, Plaintiffs are informed and believe from informal communications, that
   25                 Ford maintains these monetary figures in its computer systems.
   26           Deposition(s) of individuals in Ford’s Automotive Safety Office (“ASO”) to
   27                 obtain information regarding, among other things, the ASO’s policies and
   28                 procedures regarding investigations of defects in Ford vehicles generally and
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     1                PowerShift transmission equipped vehicles specifically; documents and
     2                records created in such investigations; testing procedures and testing
     3                performed; policies and procedures for responding to consumer complaints
     4                and safety related concerns; setting internal safety standards; the development
     5                of relevant recalls and TSBs and the implementation of them to the subject
     6                Focus and Fiesta vehicles; still unproduced documents related to exchanges
     7                between Ford and NHTSA and/or the B.A.R., dealer field reports and early
     8                warning reports; compliance with TREAD. Lead Counsel refers to this Court
     9                to the first bullet point for justification of this discovery.
   10
   11 IV.             RESOLVING EACH FIRM’S FEES
   12                 During the June 25, 2021 hearing, this Court reiterated its aversion to hearing
   13 a significant number of fee motions in connection with each firm’s case. Lead
   14 Counsel’s response to this is two-fold. First, there is simply no way to circumvent the
   15 Song Beverly Act. Lead Counsel cannot simply instruct the plaintiff attorneys that
   16 they have been stripped of their right to bring a fee motion by virtue of being
   17 transferred into this MDL, nor can this Court make such an order prohibiting such a
   18 motion given the statutory mandate for fee recovery. Each firm would have the ability
   19 and right to bring a fee motion in this Court, or in their home forums, and that right is
   20 not lost by being coordinated into an MDL. A common benefit fund is untenable since
   21 most of the work performed by each plaintiff firm (other than Knight Law) will be
   22 case specific and not for any common benefit.
   23                 Still, Lead Counsel does not anticipate that this Court will be saddled with fee
   24 motions. Ford has demonstrated its willingness to settle attorney fees, costs and
   25 expenses will all other firms with which it has settled, except for Knight Law and
   26 Lead Counsel. This is why the Court has not seen a fee motion brought by any firm
   27 in any of the hundreds of cases that have settled. Lead Counsel is informed that Ford
   28 has included payment of attorney’s fees in almost all of its global settlements with
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     1 each plaintiff firm, including the Duck/Dalton plaintiffs, CLR, the California Lemon
     2 Law Group, Cline APC, The Bickel Law Firm, Valero Law and more. It is in Ford’s
     3 own interest and ability to continue doing this with other plaintiff’s firms upon
     4 resolution of the cases. Additionally, most of the plaintiff’s firms in this MDL have
     5 not performed much, if any, work before Ford promptly removed and coordinated
     6 their cases into this MDL where they became subject to the long-lasting stay for all
     7 purposes, meaning the fees should not be substantial and can hopefully be resolved
     8 individually and upon settlement. This is the only legally sound and viable alternative
     9 to a fee motion.
   10                As to its own fees, Lead Counsel still contends it is appropriate to be paid, as
   11 with every other firm, pursuant to a fee motion under the Song Beverly Act. There is
   12 no reason why every settling law firm in this MDL should be paid fees by Ford but
   13 not Lead Counsel. Lead Counsel maintains its positions as outlined in the fee motion
   14 submitted on November 6, 2020, for which this Court’s final ruling is still pending.
   15 (Dkt. No. 1004.)
   16
   17 DATED: July 9, 2021                          Respectfully submitted,
   18
                                                   KIESEL LAW LLP
   19
   20
                                                   By: /s/ Stephanie M. Taft
   21                                                  Paul R. Kiesel
   22                                                  Stephanie M. Taft

   23                                                   Lead/Liaison Counsel for Plaintiffs
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